Case 5:17-cr-00163-SMH-MLH Document 61 Filed 12/05/17 Page 1 of 1 PageID #: 113



 MINUTES [00:30]


 UNITED STATES OF AMERICA                     CRIMINAL NO.: 5:17-cr-00163-01

 versus                                       CHIEF JUDGE HICKS

 RODOLFO BAIRES                               MAGISTRATE JUDGE HORNSBY

 **********************

          A Status Conference was held before Magistrate Judge Hornsby on December 5,

 2017. Present for the Government was Jim Cowles standing in for Brandon Brown and

 present for Defendant were Eric G. Johnson and Norman J. Silverman. Defendant's

 counsel stated that Defendant may possibly file a Motion to Suppress. Accordingly, no

 scheduling order will be entered at this time. The Defendant’s Motion to Suppress is due

 by March 22, 2018. Opposition by the Government is due by April 13, 2018. If a Motion

 to Suppress is filed, the hearing will be held May 3, 2018 at 2:00 p.m. The court finds that

 this delay is necessary in the interests of justice.

 December 6, 2017
